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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                              Richmond Division




RAW FILMS, LTD.,
                                 Plaintiff,

                                                         Civil Action No. 3:1 Icv532-JAG


JOHN DOE 1,
                                 Defendant.


                                                  ORDER


          It is hereby ORDERED that the plaintiff file a report on the status of the case within

fourteen (14) days from the entry of this Order. The status report shall include whether the

plaintiff has determined the identity of the defendant and, if so, whether he or she has been

served.


          It is so ORDERED.


          Let the Clerk send a copy of this Order to all counsel of record.




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Date: December 28. 2011                               John A. Gibney, Jj^
Richmond, VA                                          United States District Judge
